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IN THE UNITED sTATEs DIsTiuoT ooURT MAy Z,;, 2005
FoR THE NoRTHERN DIsTRIoT oF MIssIssIPPI 1 ~ '
EAsTERN DIVIsIoN gsw
PAUL PATE, Plaimiff,
VERsUs cIVIL AcTIoN No.; l 5 maj lle/'.D®
WAL-MART STORES, INC., Defendant
IURY TRIAL DEMANDED
ooMPLAINT

 

This is an action to recover actual and liquidated damages for age discrimination The
following facts support the action:

1.

Plaintiff, PAUL PATE, is an adult resident citizen of 5412 Chesterville Road, Tupelo,
Mississippi 38801.

2.

Defendant, WAL-MART STORES, INC., is a Delaware corporation With its principal
place of business in Arkansas. lt may be served With process through its registered agent,
Corporation Service Cornpany, at 506 South President Street, ]acl<sonJ Mississippi 39201.

3.

The court has federal question jurisdiction under 28 U.S.C. § 133 1, for a cause of action

for Willful age discrimination, arising under the Age Discrirnination in Ernployment Act, 29

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U.S.C. § 621, et seq.
4.

Plaintiff Paul Pate is a retired school administrator having worked as a school principal
and in other teaching and administrative positions over a period of twenty-eight years.
Commencing in approximately 1998 or 1999 and ending on March 4, 2004, Plaintiff
repeatedly applied for jobs at the Wal-Mart Distribution in New Albany, Mississippi. Plaintiff
specified that he had experience as a forklift operator, but that he would be willing to do any
type of work. Plaintiff had great difficulty in obtaining an interview, but finally obtained one.
Wal-Mart had attempted to discourage him from being interviewed by indicating it only had
certain undesirable shifts.

5.

On March 18, 2004, Wal-Mart sent Plaintiff a card stating he was no longer being

considered for employment
6.

Plaintiff has filed an EEOC charge, attached hereto as Exhibit “A,” and received a right-
to-sue letter, attached hereto as Exhibit “B.”

7 .

Because of Plaintist long and varied experience and his excellent work history, and
because Plaintiff’s examination of the Wal-Mart Distribution Center indicates that only young

employees work there, Plaintiff believes that his age (62) is the reason why he has not been

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considered for a position as a forklift operator or any other position at the Wal-Mart
Distribution Center.
8.
The age discrimination against Plaintiff has been willful.
9.
Plaintiff is entitled to actual and liquidated damages, and an injunction, offering him
employment at the Wal-Mart Distribution Center in New Albany, Mississippi.
PRAYER
The Plaintiff prays for actual and liquidated damages in an amount to be determined by
a jury, an injunction offering him employment, as well as for reasonable attorneys’ fees.
Respectfully submitted,

WAIDE & ASSOCIATES, P.A.

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MM wAIDE
Ms BAR No.. 6857

WAIDE & ASSOCIATES, P.A.
ATTORNEYS AT LAW

POST OFFICE BOX 1357

TUPELOJ MISSISSIPPI 38802
TELEPHONE: 662-842-7324
FACSIMILE: 662-842-8056

EMAIL: WAIDE@WAIDELAW.COM

Attorneys for Plaintiff

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NAl\/lEi'/rid/'cate /l//r., Ms., Mrs.) HOl\/IE TELEPHONE //nc/ude Area Code/
Mr. Paul Buford Pate 662-842~2436
STREET ADDHESS CITY, STATE AND ZlP CODE DATE OF BlFiTH
5412 Chesterville Road Tupelo, MS 38801 3-29-43

 

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TELEPHONE (/nc/ude /-lrea Code/

 

 

 

 

 

 

 

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NOTARY - (When necessary for State and l_ocal Requirements)

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D()B: 3-29-43
SSN: XXX-XX-XXXX

1 am a retired school principal and administrator 1 am 61 years old. For many months
1 have been applying for employment at Wal-Mart’s Distribution Center in New Albany,
Mississippi. 1 specified that 1 have eperience as a forklift operator and would like that type of
work. However, 1 have also placed on my mini application that 1 would do any type of work.
For a long time 1 could not get an interviewJ but finally obtained an interview 1 have now
been told that 1 will not be hired. 1n going through the plant, 1 have noticed that almost all
of the workers appear to be under the age of 40. The only reason 1 know of as to why Wal-

Mart will not offer employment is my age, 61.

1 request the EEOC to investigate and to determine whether Wal-Mart has a policy of
not hiring persons at its distribution center unless they are young people. 1 request that Wal-
Mart provide the age of all of its employees at its distribution center in New Albany, as well
as its distribution centers nationwide, so that it can be determined whether it has a policy of

not hiring older people.

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NoTICE oF RIGHT To SUE (IssUED oNREQt/EST)

 

To: Paul Buford Pate From: EEOC - Jackson Area Oftice
5412 Chesterville Road 100 West Capitol Street, Suite 207
Tupelo, MS 38801 Jackson, MS 39269

On behalf of person (s) aggrieved whose identity is

 

l l CoNFIDENTlAL (29 cFR § 1601. 7(¢»
Charge No. EEOC Representative Telephone No.
131-2004-05807 Jackie T. Blackwell, Senior Investigator (601) 9654353

 

(See also the additional information attached to this form.)
NOTICE TO THE PERSON AGGR[EVED:

Title VII of the Civil Rights Act of 1964 and/or the Americans with Disabilities Act (ADA): This is your Notice of Right to Sue, issued
under Title VII and/or the ADA based on the above-numbered charge. lt has been issued at your request Your lawsuit under Title Vll or the
ADA must be filed in federal or state court WITHIN 90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on this
charge will be lost. (The time limit for filing suit based on a state claim may be different.)

 

[ ] More than 180 days have passed since the filing of this charge.

[ ] Less than 180 days have passed since the filing of this charge, but I have determined that it is unlikely that the EEOC will
be able to complete its administrative processing within 180 days from the filing of the charge.

[ ] The EEOC is terminating its processing of this charge.
[ ] The EEOC will continue to process this charge.

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed
until 90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies

to your case:

[ X ] The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

[ ] The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of your charge,
you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (tiling an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment This means that backpay due for any

violations that occurred more than 2 years (3 yearsl before you file suit may not be collectible.

ff you file suit based on this charge, please send a copy of your court complaint to this office.

the Commission
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Area Director -

  

(Dale Mailed)

Inclosure(s) U

c; Wal-Mart Distribution Center Ron L. Woodruff, Esquire Alan Mathis, Esquire
5801 SW Regional Airport Blvd. Waide & Associates, P.A. Johnston, Barton, Proctor & Powell, LLP
Bentonville, AR 72712 Attorneys & Counselors at Law Attomeys at Law
Post Office Box 1357 1901 Sixth Avenue North

Tupelo, MS 38802 Birmingham, AL 35203-2618

 

